Case 2:19-cv-08598-DDP-AFM         Document 18-1        Filed 01/27/20   Page 1 of 1 Page ID
                                          #:36



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  8                             UNITED STATES DISTRICT COURT
  9                        CENTRAL DISTRICT OF CALIFORNIA
 10
      SPLASH NEWS AND PICTURE                        Case No.: 2:19-cv-8598 DDP (AFMx)
 11   AGENCY, LLC,
                                                     VOLUNTARY DISMISSAL
 12                Plaintiff,                        WITH PREJUDICE
 13   v.
 14   JENNIFER LOPEZ,
 15                Defendant.
 16

 17

 18         Under Rule 4l(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff
 19   Splash News and Picture Agency, LLC hereby voluntarily dismisses with prejudice
 20   the entire action as to all claims asserted against all parties.
 21

 22   Dated: January 2, 2020          Respectfully submitted,
 23                                    PERKOWSKI LEGAL, PC
 24                                    By:    /s/ Peter Perkowski
 25                                          Peter E. Perkowski
 26                                          Attorneys for Plaintiff
                                             SPLASH NEWS AND PICTURE AGENCY,
 27                                          LLC
 28
                                                    1
                                               DISMISSAL
